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     GLENN B. McCORMICK
 1   Acting United States Attorney
     District of Arizona
 2
     KEVIN M. RAPP (Ariz. Bar No. 014249, kevin.rapp@usdoj.gov)
 3   MARGARET PERLMETER (Ariz. Bar No. 024805, margaret.perlmeter@usdoj.gov)
     PETER S. KOZINETS (Ariz. Bar No. 019856, peter.kozinets@usdoj.gov)
 4   ANDREW C. STONE (Ariz. Bar No. 026543, andrew.stone@usdoj.gov)
     Assistant U.S. Attorneys
 5   40 N. Central Avenue, Suite 1800
     Phoenix, Arizona 85004-4408
 6   Telephone (602) 514-7500
 7   DAN G. BOYLE (N.Y. Bar No. 5216825, daniel.boyle2@usdoj.gov)
     Special Assistant U.S. Attorney
 8   312 N. Spring Street, Suite 1400
     Los Angeles, CA 90012
 9   Telephone (213) 894-2426
10   KENNETH POLITE
     Assistant Attorney General
11   Criminal Division, U.S. Department of Justice
12   REGINALD E. JONES (Miss. Bar No. 102806, reginald.jones4@usdoj.gov)
     Senior Trial Attorney, U.S. Department of Justice
13   Child Exploitation and Obscenity Section
     950 Pennsylvania Ave N.W., Room 2116
14   Washington, D.C. 20530
     Telephone (202) 616-2807
15   Attorneys for Plaintiff
16
                         IN THE UNITED STATES DISTRICT COURT
17
                                  FOR THE DISTRICT OF ARIZONA
18
19   United States of America,                              No. CR-18-422-PHX-SMB

20                            Plaintiff,
                                                         UNITED STATES’ NOTICE OF
21             v.                                         FILING 302s AND RELATED
                                                                MATERIALS
22
     Michael Lacey, et al.,
23
                              Defendants.
24
25          The United States hereby gives notice of its filing of the witness statements
26   requested by the Court near the end of Trial Day 3 (September 3, 2021). Three of the
27   statements are set forth in FBI 302 memoranda, which are being filed separately under seal
28   herewith. The remaining statements are attached to this Notice.


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 1         The statements being filed by the United States consist of the following:
 2      • [Under Seal] April 25, 2017 Paula Selis FBI 302 Interview Memorandum, bates
 3         numbered DOJ-BP-0004735171-72 (Exhibit A) 1;
 4      • June 27, 2012 Paula Selis Declaration, filed in Backpage.com, LLC. v. McKenna,
 5         2:12-cv-954 (W.D. Wash.), bates numbered DOJ-BP-0004457055-57 (Exhibit B);
 6      • [Under Seal] February 21, 2020 Nacole Svendgard FBI 301, bates numbered
 7         USAO-BP-0026629-30 (Exhibit C);
 8      • [Under Seal] June 3, 2020 Nacole Svendgard FBI 301, bates numbered USAO-BP-
 9         0032234 (Exhibit D). 2
10         Respectfully submitted this 3d day of September, 2021.
11                                           GLENN B. McCORMICK
                                             Acting United States Attorney
12                                           District of Arizona
13                                           s/ Kevin M. Rapp
                                             KEVIN M. RAPP
14                                           MARGARET PERLMETER
                                             PETER S. KOZINETS
15                                           ANDREW C. STONE
                                             Assistant U.S. Attorneys
16
                                             DAN G. BOYLE
17                                           Special Assistant U.S. Attorney
18                                           KENNETH POLITE
                                             Assistant Attorney General
19                                           U.S. Department of Justice
                                             Criminal Division, U.S. Department of Justice
20
                                             REGINALD E. JONES
21                                           Senior Trial Attorney
                                             U.S. Department of Justice, Criminal Division
22                                           Child Exploitation and Obscenity Section
23
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            1
             Exhibit A was produced on 2/22/19, as referenced in the United States’ Discovery
     Letter of the same date (Exhibit E.) Exhibit B was produced on 7/2/18, as referenced in
27   the United States’ Discovery letter of the same date. (Exhibit F.)

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            Exhibits C and D were produced on 6/25/21, as referenced in the United States’
     Discovery Letter of the same date (Exhibit G).

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 1                               CERTIFICATE OF SERVICE
 2          I hereby certify that on September 3, 2021, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 5   as counsel of record.
 6   s/ Marjorie Dieckman
 7   U.S. Attorney’s Office

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